 Fill in this information to identify the case:

 Debtor name         Ideal Property Investments LLC

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF WASHINGTON

 Case number (if known)         24-1421
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1.        State what the contract or                   Lease of commercial
             lease is for and the nature of               property
             the debtor's interest

                 State the term remaining
                                                                                      Arlington Recycle
             List the contract number of any                                          11411 Beverly Park Road
                   government contract                                                Everett, WA 98205


 2.2.        State what the contract or                   Lease of commercial
             lease is for and the nature of               property
             the debtor's interest

                 State the term remaining
                                                                                      Beaches Interior LLC
             List the contract number of any                                          2129 Andrea Lane
                   government contract                                                Fort Myers, FL 33912


 2.3.        State what the contract or                   Lease of commercial
             lease is for and the nature of               property
             the debtor's interest

                 State the term remaining
                                                                                      Bureau Office Inc.
             List the contract number of any                                          701 Eden Terrace
                   government contract                                                High Point, NC 27263


 2.4.        State what the contract or                   Lease of commercial
             lease is for and the nature of               property
             the debtor's interest

                 State the term remaining
                                                                                      Condo Cars
             List the contract number of any                                          2129 Andrea Lane
                   government contract                                                Fort Myers, FL 33912




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 Debtor 1 Ideal Property Investments LLC                                                        Case number (if known)   24-1421
              First Name              Middle Name                    Last Name


            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

 2.5.        State what the contract or                   Lease of commercial
             lease is for and the nature of               property
             the debtor's interest

                 State the term remaining
                                                                                        Customm Upholstery
             List the contract number of any                                            1924 North Avenue West
                   government contract                                                  Missoula, MT 59801


 2.6.        State what the contract or                   Lease of commercial
             lease is for and the nature of               property
             the debtor's interest

                 State the term remaining
                                                                                        Dobbs Stanford Corp.
             List the contract number of any                                            2715 Electronic Lane
                   government contract                                                  Dallas, TX 75220


 2.7.        State what the contract or                   Lease of commercial
             lease is for and the nature of               property
             the debtor's interest

                 State the term remaining
                                                                                        Grand Canyon Foods International
             List the contract number of any                                            1930 N. 22nd Avenue
                   government contract                                                  Phoenix, AZ 85009


 2.8.        State what the contract or                   Lease of commercial
             lease is for and the nature of               property
             the debtor's interest

                 State the term remaining
                                                                                        Guardian MMA LLC
             List the contract number of any                                            730a Middle Tennessee Blvd., Suite 12
                   government contract                                                  Murfreesboro, TN 37129


 2.9.        State what the contract or                   Lease of commercial
             lease is for and the nature of               property
             the debtor's interest

                 State the term remaining
                                                                                        Hexa Partners
             List the contract number of any                                            730a Middle Tennessee, Suite 13
                   government contract                                                  Murfreesboro, TN 37129




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 Debtor 1 Ideal Property Investments LLC                                                        Case number (if known)   24-1421
              First Name              Middle Name                    Last Name


            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

 2.10.       State what the contract or                   Lease of commercial
             lease is for and the nature of               property
             the debtor's interest

                 State the term remaining
                                                                                        Ice & Water Vendors
             List the contract number of any                                            700 S. Arizona Blvd.
                   government contract                                                  Coolidge, AZ 85128


 2.11.       State what the contract or                   Lease of commercial
             lease is for and the nature of               property
             the debtor's interest

                 State the term remaining
                                                                                        ITA Med Co.
             List the contract number of any                                            25377 Huntwood Avenue
                   government contract                                                  Hayward, CA 94544


 2.12.       State what the contract or                   Lease of commercial
             lease is for and the nature of               property
             the debtor's interest

                 State the term remaining
                                                                                        Mach Holdings
             List the contract number of any                                            1930 N. 22nd Avenue
                   government contract                                                  Phoenix, AZ 85009


 2.13.       State what the contract or                   Lease of commercial
             lease is for and the nature of               property
             the debtor's interest

                 State the term remaining
                                                                                        Oerlikon Balzers Coating USA, Inc.
             List the contract number of any                                            730a Middle Tennessee, Suite 18-20
                   government contract                                                  Murfreesboro, TN 37129


 2.14.       State what the contract or                   Lease of commercial
             lease is for and the nature of               property
             the debtor's interest

                 State the term remaining
                                                                                        Progressive Design Playgrounds
             List the contract number of any                                            530 Opper Street, Unit B
                   government contract                                                  Escondido, CA 92029




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 Debtor 1 Ideal Property Investments LLC                                                        Case number (if known)   24-1421
              First Name              Middle Name                    Last Name


            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

 2.15.       State what the contract or                   Lease of commercial
             lease is for and the nature of               property
             the debtor's interest

                 State the term remaining
                                                                                        Recumbent Bicycles of Tennessee
             List the contract number of any                                            730 Middle Tennessee Blvd., Suite 9
                   government contract                                                  Murfreesboro, TN 37129


 2.16.       State what the contract or                   Lease of commercial
             lease is for and the nature of               property
             the debtor's interest

                 State the term remaining
                                                                                        Refreshing AZ
             List the contract number of any                                            4237 E. Magnolia
                   government contract                                                  Phoenix, AZ 85034


 2.17.       State what the contract or                   Lease of commercial
             lease is for and the nature of               property
             the debtor's interest

                 State the term remaining
                                                                                        Refreshing AZ
             List the contract number of any                                            653 E. 20th Street
                   government contract                                                  Yuma, AZ 85365


 2.18.       State what the contract or                   Lease of commercial
             lease is for and the nature of               property
             the debtor's interest

                 State the term remaining
                                                                                        Refreshing FL
             List the contract number of any                                            877 Orange Avenue
                   government contract                                                  Tallahassee, FL 32301


 2.19.       State what the contract or                   Lease of commercial
             lease is for and the nature of               property
             the debtor's interest

                 State the term remaining
                                                                                        Refreshing FL
             List the contract number of any                                            2129 Andrea Lane
                   government contract                                                  Fort Myers, FL 33912




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 Debtor 1 Ideal Property Investments LLC                                                        Case number (if known)   24-1421
              First Name              Middle Name                    Last Name


            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

 2.20.       State what the contract or                   Lease of commercial
             lease is for and the nature of               property
             the debtor's interest

                 State the term remaining
                                                                                        Refreshing GA
             List the contract number of any                                            1118 Virginia Street
                   government contract                                                  Columbus, GA 31901


 2.21.       State what the contract or                   Lease of commercial
             lease is for and the nature of               property
             the debtor's interest

                 State the term remaining
                                                                                        Refreshing GL
             List the contract number of any                                            8460 Thomas Avenue
                   government contract                                                  Bridgeview, IL 60455


 2.22.       State what the contract or                   Lease of commercial
             lease is for and the nature of               property
             the debtor's interest

                 State the term remaining
                                                                                        Refreshing GL
             List the contract number of any                                            1400 Greenleaf Avenue
                   government contract                                                  Elk Grove Village, IL 60007


 2.23.       State what the contract or                   Lease of commercial
             lease is for and the nature of               property
             the debtor's interest

                 State the term remaining
                                                                                        Refreshing MW
             List the contract number of any                                            19355 SW Teton Avenue
                   government contract                                                  Tualatin, OR 97062


 2.24.       State what the contract or                   Lease of commercial
             lease is for and the nature of               property
             the debtor's interest

                 State the term remaining
                                                                                        Refreshing NV
             List the contract number of any                                            7925 W. Arby Avenue
                   government contract                                                  Las Vegas, NV 89113




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 Debtor 1 Ideal Property Investments LLC                                                        Case number (if known)   24-1421
              First Name              Middle Name                    Last Name


            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

 2.25.       State what the contract or                   Lease of commercial
             lease is for and the nature of               property
             the debtor's interest

                 State the term remaining
                                                                                        Refreshing TX
             List the contract number of any                                            343 Johnny Clark Road
                   government contract                                                  Longview, TX 75605


 2.26.       State what the contract or                   Lease of commercial
             lease is for and the nature of               property
             the debtor's interest

                 State the term remaining
                                                                                        Refreshing TX
             List the contract number of any                                            2709 Electric Lane
                   government contract                                                  Dallas, TX 75220


 2.27.       State what the contract or                   Lease of commercial
             lease is for and the nature of               property
             the debtor's interest

                 State the term remaining
                                                                                        Refreshing TX
             List the contract number of any                                            11519 South Petropark Avenue
                   government contract                                                  Houston, TX 77041


 2.28.       State what the contract or                   Lease of commercial
             lease is for and the nature of               property
             the debtor's interest

                 State the term remaining
                                                                                        Refreshing USA
             List the contract number of any                                            11410 Beverly Park Road
                   government contract                                                  Everett, WA 98204


 2.29.       State what the contract or                   Lease of commercial
             lease is for and the nature of               property
             the debtor's interest

                 State the term remaining
                                                                                        Refreshing USA
             List the contract number of any                                            701 Eden Terrace
                   government contract                                                  Archdale, NC 27263




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              First Name              Middle Name                    Last Name


            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

 2.30.       State what the contract or                   Lease of commercial
             lease is for and the nature of               property
             the debtor's interest

                 State the term remaining
                                                                                        Select Technology Group
             List the contract number of any                                            2711 Electronic Lane
                   government contract                                                  Dallas, TX 75220


 2.31.       State what the contract or                   Lease of commercial
             lease is for and the nature of               property
             the debtor's interest

                 State the term remaining
                                                                                        Sherwood Collision Center
             List the contract number of any                                            19355 SW Teton Avenue
                   government contract                                                  Tualatin, OR 97062


 2.32.       State what the contract or                   Lease of commercial
             lease is for and the nature of               property
             the debtor's interest

                 State the term remaining
                                                                                        Sky Heating and Air Conditioning
             List the contract number of any                                            19305 SW Teton Avenue
                   government contract                                                  Tualatin, OR 97062


 2.33.       State what the contract or                   Lease of commercial
             lease is for and the nature of               property
             the debtor's interest

                 State the term remaining
                                                                                        Sound-Crete/Cell-Crete Corp.
             List the contract number of any                                            530 Opper Street, Unit A
                   government contract                                                  Escondido, CA 92029


 2.34.       State what the contract or                   Lease of commercial
             lease is for and the nature of               property
             the debtor's interest

                 State the term remaining
                                                                                        Tenn 730 Business LLC
             List the contract number of any                                            730 Middle Tennessee Blvd., Suite 10 and 11
                   government contract                                                  Murfreesboro, TN 37129




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 Debtor 1 Ideal Property Investments LLC                                                        Case number (if known)   24-1421
              First Name              Middle Name                    Last Name


            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

 2.35.       State what the contract or                   Lease of commercial
             lease is for and the nature of               property
             the debtor's interest

                 State the term remaining
                                                                                        The Warehouse
             List the contract number of any                                            730a Middle Tennessee, Suite 14-15
                   government contract                                                  Murfreesboro, TN 37129


 2.36.       State what the contract or                   Lease of commercial
             lease is for and the nature of               property
             the debtor's interest

                 State the term remaining
                                                                                        Yuma Gymnastics
             List the contract number of any                                            653 E. 20th Street, Suite A
                   government contract                                                  Yuma, AZ 85365




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